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                               EXHIBIT A
  1.       J. Alderson
  2.       J. Anderson
  3.       C. Birch Meir
  4.       M. Brandly
  5.       B. Bruegger
  6.       R. Buthia
  7.       D. Byrd
  8.       M. Cross
  9.       W. Freeman
  10.      A. Gibson
  11.      R. Haley
  12.      A. Headley
  13.      K. Hooks
  14.      J. St. John
  15.      W. Johnson
  16.      T. Jones
  17.      T. Kilgore
  18.      B. Kloha
  19.      D. McClendon
  20.      T. McKinnon
  21.      K. Mclaren
  22.      K. Pasha
  23.      J. Peete
  24.      R. Pierce
  25.      D. Pope
  26.      J. Saine
  27.      M. Sanford
  28.      B. Smith
  29.      C. Smith
  30.      R. Sutton
  31.      C. Versreate
  32.      C. Vincent
  33.      A. West


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